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UN|TED STATES OF AMERlCA

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-v- 2:04CR20114_01_B W m Cit" - iyi‘r;ET~-`rp!""l€)

GLENDA WH|TAKEFt
Illiartv Nchfee. Retained
Defense Attorney
246 Adams Aven ue
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 4 of the lndictment on February 28, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Tiue & section NB_W§M Offense Numberts)
Q.LM
18 u.s.c. § 1344 and sank Fraud 11/30/2001 4

18 U.S.C. § 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Ftestitution Act of 1996

Count(s) 1, 2, 3, 5 & 6 are dismissed on the motion of the United States.

|T |S FURTHER OFlDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 5/18/1976 May 26, 2005
Deft’s U.S. Marsha| No.: 19546-076

Defendant’s i\/lailing Address:
5801 Preston Oaks Ftoad, #1406

Da|las, TX 75254 :‘ 2 M

\l.). DANiEi_ BREEN
u iTED sTATEs DisTincT .JuDsE

i\/fay ll ,2005

This document entered on the docket,sheef in compliance
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Case No: 2:04CFi201 14-01-13 Defendant Name: Glenda WH|TAKEFt Page 2 of 4

IIVIPR|SONN|ENT

The defendant is hereby sentenced to custody and credited for Time Previous|y
Served.

The Court recommends to the Bureau of Prisons:

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lW-\FtSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:O4CH20114-01-B Defendant Name: Glenda WH|TAKER Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPEFIV|SION

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shaft
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CFt20114-01-B Defendant Name: G|enda WH|TAKEFt Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the oourt;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminai Monetary Pena|ties sheet of this judgment

ADD|T|ONAL CONDITIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Seek and maintain full-time employment

2) Cooperate with DNA collection as directed by the probation Officer.

CR|N||NAL |VlONETAFtY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution

$100.00
The Specia| Assessment shall be due immediately

F|NE
No fine imposedl

REST|TUT|ON
No Flestitution was ordered

   

UNITED sTATE D"ISIC COURT - WESRNTE DSRTCT oFTENNESSEE

Notice of Distribution

Tbis notice confirms a copy of the document docketed as number 51 in
case 2:04-CR-201 14 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

